                                                     __________________________

 Case 2:20-cv-07061-SDW-LDW Document 9 Filed 01/07/21 Page 1 of 2 PageID: 67



O’BRIEN, BELLAND & BUSIIINSKY, LLC

509 S. Lenola Road                                                   RECEIVED
Building 6
Moorestown, New Jersey 08057                                          iAN   5 2(121
(856) 795-2181                                                       (‘HAMBERS OF
                                                              HONORABLE SUSAN D. wIGENTON
By: Steven J. Bushinsky, Esquire
       W. Daniel Feehan, Esquire

Attorneysfor Plaintffs
                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

 TRUSTEES OF INTERNATIONAL
 UNION OF PAINTERS AND ALLIED                        Case No: 2:20-cv-07061-SDW-LDW
 TRADES DISTRICT COUNCIL 711
 HEALTH & WELFARE FUND; et. al/,                                 Civil Action

                                       Plain t/j’,
 v.                                                      DEFAULT JuDGMENT


 BELT PAINTING OF NEW YORK
 CORP,
                        Defendant.

      This matter having come before the Court on Plaintiffs’, Trustees of

International Union of Painters and Allied Trades District Council 711 Health &

We ar Fund,    et.   al. (“Funds”), Motion for Default Judgment, it is on this        day

of___________________ 20?/;

      ORDE            and ADJIJDGED that Defendant Belt Painting of New York

Corp. is enjoined from violating the terms of the parties’ Agreement as to Plaintiff

Funds;
 Case 2:20-cv-07061-SDW-LDW Document 9 Filed 01/07/21 Page 2 of 2 PageID: 68



       IT IS FURTHER ORDERED that Defendant Belt Painting of New York

Corp. providea surety bond or cash bond equivalent in the amount of $50,000.00

with Plaintiffs as obligees;

       IT IS FURTHER ORDERED and ADJUTGED that if Defendant Belt

Painting of New York Corp. fails to provide a surety bond or cash bond equivalent

in the amount of $50,000.00 within fourteen (14) days of the date of this Order,

judgment is entered in favor of Plaintiffs in the amount of $50,000.00;

       IT IS FURTHER ORDERED and ADJUDGED that Defendant Belt

Painting of New York Corp. specifically perform all obligations to Plaintiffs Funds

under the parties’ Agreement;

      IT IS FIJRTFIER ORDERED and ADJUDGED that Plaintiffs recover of

Defendant Belt Painting of New York Corp. the sum of $1,209.75 in attorneys’ fees

and costs, as provided by law and to include additional interest thereon; and

      IT IS FURTHER ORDERED and ADJUDGED that this Court will retain

active jurisdiction over the enforcement




                                           2
